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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


JEREMY GUSLOFF,

               Plaintiff,
                                                   Case No.: 21-cv-662-wmc
      v.


QUINCY BIOSCIENCE HOLDING COMPANY, INC.,

               Defendant.


                        RULE 26(f) JOINT PRETRIAL REPORT


      The parties, by counsel and pursuant to Federal Rule of Civil Procedure 26(f),

submit the following joint pretrial report following a telephone conference on

December 21, 2021 in which the parties discussed the matters set forth in Rule

26(f). Both parties have had the opportunity to review and consent to the filing of

this report.

      1.       Nature of the case. This is an alleged class and collective action

lawsuit brought under the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et

seq., and the Wisconsin Wage Payment and Collection Act, Wis. Stat. § 109.01 et

seq. Plaintiff Jeremy Gusloff alleges he worked as an overtime-eligible sales

representative for defendant Quincy Bioscience Holding Company, Inc. Gusloff

seeks to represent a class and collective of current and former Quincy sales

representatives. He contends that Quincy failed to properly calculate the regular

rate of pay when calculating sales representatives’ overtime rates by failing to
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include their commission payments in its calculations. In its answer, Quincy denies

that it erred in its calculation of sales representatives’ overtime rates and raises

several affirmative defenses, maintaining that neither Gusloff nor the other sales

representatives are entitled to relief.

       2.    Jurisdiction and venue. The parties anticipate no motions regarding

either subject-matter jurisdiction or venue.

       3.    Related cases. There are no related cases.

       4.    Material issues to be resolved. The parties agree that the following

issues, among others, exist: (1) whether Gusloff can establish the requirements to

proceed as a collective and/or class action lawsuit; (2) whether liability exists under

the FLSA and/or Wisconsin wage and hour laws; (3) the extent of Gusloff’s and the

putative class members’ damages, if any; and (4) whether Quincy’s conduct was

willful.

       5.    Simplification of issues. The parties will cooperate to simplify issues

where appropriate.

       6.    Admissions and stipulations. The parties will cooperate to make

appropriate stipulations regarding the authenticity of documents to avoid

unnecessary proof.

       7.    Advance rulings. The parties will attempt to bring to the court’s

attention at the earliest possible time any issues relating to admissibility of

evidence on which an advance ruling would be helpful.




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       8.    Limitation of testimony under Rule 702. The parties are not aware at

this time of the need to limit the use of testimony under Federal Rule of Evidence

702.

       9.    Additional parties. Gusloff will file the consent forms of additional

party plaintiffs as he becomes aware of these individuals and anticipates sending

notice of this lawsuit to all other similarly-situated individuals if the proposed class

is certified. Quincy does not presently anticipate adding any new parties to this

matter.

       10.   Amendments to the pleadings. The parties request a deadline of

January 28, 2022, to amend their pleadings without leave of court.

       11.   Pending or contemplated motions. Gusloff plans to move for

conditional class certification of his FLSA claims and Fed. R. Civ. P. 23 class

certification of his state-law claims. Quincy plans to oppose certification of this

lawsuit as a collective or class action. Both parties will likely file motions for

summary judgment on the merits of the claims.

       12.   Length of trial. The parties’ best estimate is that the trial in this

matter may take four days, including liability and damages.

       13.   Settlement discussions. The parties anticipate attempting to resolve

this matter through settlement.

       14.   Initial disclosures. The parties will exchange initial disclosures by

January 21, 2022.




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      15.    Electronic service. The parties agree that documents filed through the

court’s ECF system are served by ECF notification. The parties also consent that

service by electronic means shall be allowed as set forth in Fed. R. Civ. P. 5(b)(2)(E)

and that such service shall be complete upon transmission and shall be considered

the same as personal service, provided that the sender does not receive any

indication that such electronic transmission was unsuccessful.

      16.    Discovery requests in electronic format. The parties agree that copies

of all written discovery requests and proposed findings of fact shall be provided

and/or served electronically in a format editable by the other party (such as Word

format), and that copies of all proposed findings of fact as required by the court’s

standing order regarding summary-judgment motions shall be served electronically

in a similar editable format.

      17.    Witnesses and exhibits. The parties agree that disclosure of all

witnesses and exhibits for trial shall be completed in accordance with the Federal

Rules of Civil Procedure unless otherwise ordered by the court.

      18.    Expert witnesses. The parties do not anticipate at this time using

experts for class-certification purposes. The parties ask the court to set deadlines for

the disclosure of liability and damages experts in accordance with the proposed

schedule.

      19.    Electronically stored information. The parties agree to produce

documents in accordance with Fed. R. Civ. P. 34(b)(2)(E). The parties will take all

reasonably necessary steps to preserve ESI from alteration or destruction.



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      20.    Trial and final pretrial dates. The parties believe that this matter will

be ready for trial on or after March 1, 2023. The parties request that the final

pretrial conference be scheduled in accord with the court’s regular practices.




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                            Proposed Case Schedule


January 21, 2022                    Initial disclosures due

January 28, 2022                    Deadline to file amendments without
                                    leave of court

March 18, 2022                      Motion for conditional certification due
                                    (30/14 briefing schedule)

April 22, 2022                      Plaintiff’s liability expert witness
                                    disclosures due

July 15, 2022                       Defendant’s liability expert witness
                                    disclosures due

August 5, 2022                      Rule 23 certification / decertification
                                    motions due

September 9, 2022                   Plaintiff’s damages expert witness
                                    disclosures due

October 14, 2022                    Defendant’s damages expert witness
                                    disclosures due

October 28, 2022                    Dispositive motions due (30/14 briefing
                                    schedule)

January 6, 2023                     Settlement letters due

January 6, 2023                     Close of discovery

TBD based on Trial Date             26(a)(3) disclosures and all motions in
                                    limine due

TBD based on Trial Date             Objections to 26(a)(3) disclosures and
                                    motions in limine due

Week of February 27 or March 6,     Final pretrial conference
2023

After March 1, 2023                 Trial



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Respectfully submitted this 21st day of December, 2021.


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